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 5                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 6

 7 UNITED STATES OF AMERICA,                         2:21-CR-137-JAD-VCF

 8                  Plaintiff,                       Final Order of Forfeiture

 9          v.

10 TYLER PATRICK YOST,

11                  Defendant.

12          The United States District Court for the District of Nevada entered a Preliminary
13 Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2) and 18 U.S.C. §

14 2253(a)(3) based upon the plea of guilty by Tyler Patrick Yost to the criminal offense,

15 forfeiting the property set forth in the Plea Agreement and the Forfeiture Allegation of the

16 Criminal Information and shown by the United States to have the requisite nexus to the

17 offense to which Tyler Patrick Yost pled guilty. Criminal Information, ECF No. 4; Plea

18 Agreement, ECF No. 6; Preliminary Order of Forfeiture, ECF No. 7; Arraignment & Plea,

19 ECF No. 10.

20          This Court finds that on the government’s motion, the Court may at any time enter
21 an order of forfeiture or amend an existing order of forfeiture to include subsequently

22 located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

23 32.2(b)(2)(C).

24          This Court finds the United States published the notice of forfeiture in accordance
25 with the law via the official government internet forfeiture site, www.forfeiture.gov,

26 consecutively from July 11, 2021, through August 9, 2021, notifying all potential third

27 parties of their right to petition the Court. Notice of Filing Proof of Publication Exhibits,

28 ECF No. 13-1, p. 5.
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 1          This Court finds no petition was filed herein by or on behalf of any person or entity

 2   and the time for filing such petitions and claims has expired.

 3          This Court finds no petitions are pending regarding the property named herein and

 4   the time has expired for presenting such petitions.

 5          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

 6   all possessory rights, ownership rights, and all rights, titles, and interests in the property

 7   hereinafter described are condemned, forfeited, and vested in the United States pursuant to

 8   Fed. R. Crim. P. 32.2(b)(4)(A) and (b)(4)(B); Fed. R. Crim. P. 32.2(c)(2); 18 U.S.C. §

 9   2253(a)(3); and 21 U.S.C. § 853(n)(7) and shall be disposed of according to law: iPhone 8

10   IMEI 3532201003224074 (property).

11          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

12   copies of this Order to all counsel of record.

13          DATED
            Dated:  _____________________,
                   September 27, 2021.     2021.

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16                                                JENNIFER A. DORSEY
                                                  UNITED STATES DISTRICT JUDGE
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